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                                                         United States District Court
                                                         Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.             SA CR 19-0052-FMO

 Defendant           SEAN PATRICK RINGER                                     Social Security No. 6         3   4     1
 akas:   none                                                                (Last 4 digits)

                                           JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                    MONTH      DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.         11     18      2021

  COUNSEL                                                               Robert Bernstein, CJA
                                                                             (Name of Counsel)

    PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                   NOT
                                                                                                               CONTENDERE               GUILTY
  FINDING            There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

                     Count 1: Possession of Child Pornography; 18 U.S.C. § 2252 A(a)(5)(B) and (b)(2)

JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM               Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER              custody of the Bureau of Prisons to be imprisoned for a term of: sixty-seven (67) months

       It is the judgment of the court that defendant is sentenced on Count One of the Indictment to the custody of
the Bureau of Prisons for a term of sixty-seven (67) months.

      Upon release from imprisonment, defendant shall be placed on supervised release for a term of seven (7)
years under the following terms and conditions:

         1.          Defendant shall comply with the rules and regulations of the United States Probation & Pretrial
                     Services Office and Second Amended General Order 20-04.

         2.          During the period of community supervision, defendant shall pay the special assessment in accordance
                     with this judgment's orders pertaining to such payment.

         3.          Defendant shall cooperate in the collection of a DNA sample from defendant.

         4.          Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall submit to one
                     drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to
                     exceed eight tests per month, as directed by the Probation Officer.

         5.          Defendant shall participate in an outpatient substance abuse treatment and counseling program that
                     includes urinalysis, breath or sweat patch testing, as directed by the Probation Officer. Defendant shall
                     abstain from using alcohol and illicit drugs, and from abusing prescription medications during the period
                     of supervision.


         6.          Defendant shall participate in mental health treatment, which may include evaluation and counseling,
                     until discharged from the program by the treatment provider, with the approval of the Probation Officer.

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         7.          As directed by the Probation Officer, defendant shall pay all or part of the costs of the court-ordered
                     treatment to the aftercare contractors during the period of community supervision. Defendant shall
                     provide payment and proof of payment as directed by the Probation Officer. If defendant has no ability
                     to pay, no payment shall be required.

         8.          Defendant shall possess and use only those computers and computer related devices, screen
                     usernames, passwords, email accounts, and internet service providers (ISPs) that have been disclosed
                     to the Probation Officer upon commencement of supervision. Any changes or additions are to be
                     disclosed to the Probation Officer prior to the first use. Computers and computer-related devices
                     include personal computers, personal data assistants (PDAs), internet appliances, electronic games,
                     cellular telephones, and digital storage media, as well as their peripheral equipment, that can access,
                     or can be modified to access, the internet, electronic bulletin boards, and other computers.

         9.          All computers, computer-related devices, and their peripheral equipment, used by defendant shall be
                     subject to search and seizure. This shall not apply to items used at the employment's site, which are
                     maintained and monitored by the employer.

         10.         Defendant shall comply with the rules and regulations of the Computer Monitoring Program. Defendant
                     shall pay the cost of the Computer Monitoring Program, in an amount not to exceed $32 per month per
                     device connected to the internet.

         11.         Within three (3) days of release from prison, defendant shall register as a sex offender, and keep the
                     registration current, in each jurisdiction where defendant resides, is employed and is a student,
                     pursuant to the registration procedures that have been established in each jurisdiction. When
                     registering for the first time, defendant shall also register in the jurisdiction in which the conviction
                     occurred if different from defendant's jurisdiction of residence. Defendant shall provide proof of
                     registration to the Probation Officer within 48 hours of registration.

         12.         Defendant shall participate in a psychological counseling or psychiatric treatment or a sex offender
                     treatment program, or any combination thereof as approved and directed by the Probation Officer.
                     Defendant shall abide by all rules, requirements, and conditions of such program, including submission
                     to risk assessment evaluations and physiological testing, such as polygraph and Abel testing. The
                     court authorizes the Probation Officer to disclose the Presentence Report, and any previous mental
                     health evaluations or reports, to the treatment provider. The treatment provider may provide
                     information (excluding the Presentence report), to State or local social service agencies (such as the
                     State of California, Department of Social Service), for the purpose of the client's rehabilitation.

         13.         As directed by the Probation Officer, defendant shall pay all or part of the costs of psychological
                     counseling or psychiatric treatment, or a sex offender treatment program, or any combination thereof
                     to the aftercare contractor during the period of community supervision. Defendant shall provide
                     payment and proof of payment as directed by the Probation Officer. If defendant has no ability to pay,
                     no payment shall be required.

         14.         Defendant shall not view or possess any materials, including pictures, photographs, books, writings,
                     drawings, videos, or video games, depicting or describing child pornography, as defined in 18 U.S.C.
                     §2256(8), or sexually explicit conduct depicting minors, as defined at 18 U.S.C. §2256(2). This
                     condition does not prohibit defendant from possessing materials solely because they are necessary
                     to, and used for, a collateral attack, nor does it prohibit defendant from possessing materials prepared
                     and used for the purposes of defendant's court-mandated sex offender treatment, when defendant's
                     treatment provider or the probation officer has approved of defendant's possession of the material in
                     advance.


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         15.         Defendant shall not own, use or have access to the services of any commercial mail-receiving agency,
                     nor shall defendant open or maintain a post office box, without the prior written approval of the
                     Probation Officer.

         16.         Defendant shall not contact the victim(s), or, by any means, including in person, by mail or electronic
                     means, or via third parties. Further, defendant shall remain at least 100 yards from the victim(s) at all
                     times. If any contact occurs, defendant shall immediately leave the area of contact and report the
                     contact to the Probation Officer.

         17.         Defendant shall not enter, or loiter, within 100 feet of school yards, parks, public swimming pools,
                     playgrounds, youth centers, video arcade facilities, amusement and theme parks, or other places
                     primarily used by persons under the age of 18, without the prior written authorization of the Probation
                     Officer.

         18.         Defendant shall not associate or have verbal, written, telephonic, or electronic communication with any
                     person under the age of 18, except: (a) in the presence of the parent or legal guardian of said minor;
                     and (b) on the condition that defendant notify said parent or legal guardian of defendant's conviction
                     in the instant offense/prior offense. This provision does not encompass persons under the age of 18,
                     such as waiters, cashiers, ticket vendors, etc., whom defendant must interact with in order to obtain
                     ordinary and usual commercial services.

         19.         Defendant shall not affiliate with, own, control, volunteer or be employed in any capacity by a business
                     or organization that causes defendant to regularly contact persons under the age of 18.

         20.         Defendant's employment shall be approved by the Probation Officer, and any change in employment
                     must be pre-approved by the Probation Officer. Defendant shall submit the name and address of the
                     proposed employer to the Probation Officer at least ten (10) days prior to any scheduled change.

         21.         Defendant shall submit to a search, at any time, with or without warrant, and by any law enforcement
                     or probation officer, of defendant's person and any property, house, residence, vehicle, papers,
                     computers, cell phones, other electronic communication or data storage devices or media, email
                     accounts, social media accounts, cloud storage accounts, effects and other areas under defendant's
                     control, upon reasonable suspicion concerning a violation of a condition of supervision or unlawful
                     conduct by defendant, or by any probation officer in the lawful discharge of the officer's supervision
                     functions.

         22.         Defendant shall not view or possess any materials, including pictures, photographs, books, writings,
                     drawings, videos, or video games, depicting or describing child erotica, which is defined as a person
                     under the age of 18 in partial or complete state of nudity, in sexually provocative poses, viewed for the
                     purpose of sexual arousal.

         23.         Defendant shall not possess or view any materials such as videos, magazines, photographs, computer
                     images or other matter that depict "actual sexually explicit conduct" involving adults as defined by 18
                     USC § 2257(h)(1).

         24.         Defendant shall not affiliate with, own, control, or be employed in any capacity by a business whose
                     principal product is the production or selling of materials depicting or describing "sexually explicit
                     conduct," as defined at 18 U.S.C. § 2256(2).

         25.         Defendant shall not reside within direct view of school yards, parks, public swimming pools,
                     playgrounds, youth centers, video arcade facilities, or other places primarily used by persons under
                     the age of 18. Defendant's residence shall be approved by the Probation Officer, and any change in

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                     residence must be pre-approved by the Probation Officer. Defendant shall submit the address of the
                     proposed residence to the Probation Officer at least ten days prior to any scheduled move.

         26.         Upon release from custody defendant shall submit to a psycho-sexual evaluation approved and
                     directed by the Probation Officer. The offender shall abide by all rules, requirements, and conditions,
                     of such an assessment, including submission to risk assessment evaluation, and physiological testing,
                     such as polygraph, and Abel testing, to determine if the offender is a risk for sexual re-offending, in
                     need of additional conditions of supervision and sex offender specific treatment.

         27.         Defendant shall participate in an evaluation by a trained professional, approved by the Probation Office,
                     to assess defendant's risk to the community as a sex offender. The evaluation may include
                     physiological testing, such as polygraph and Abel testing. The court authorizes the Probation Officer
                     to disclose the Presentence Report, and any previous mental health evaluations or reports, to the
                     evaluation provider.

         28.         As directed by the Probation Officer, defendant shall pay all or part of the costs of the sex offender risk
                     evaluation to the aftercare contractor during the period of community supervision. Defendant shall
                     provide payment and proof of payment as directed by the Probation Officer. If defendant has no ability
                     to pay, no payment shall be required.

       Defendant shall pay to the United States a special assessment of $100, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to
the Bureau of Prisons' Inmate Financial Responsibility Program. All fines are waived as the court finds that defendant
has established that he is unable to pay and is not likely to become able to pay any fine.



 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            November 19, 2021
            Date                                                  Fernando M. Olguin, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                  Clerk, U.S. District Court



            November 19, 2021                               By    /s/ G. Garcia
            Filed Date                                            Deputy Clerk




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 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                 STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                  While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant must not commit another federal, state, or local          9.    The defendant must not knowingly associate with any persons engaged
       crime;                                                                        in criminal activity and must not knowingly associate with any person
 2.    The defendant must report to the probation office in the federal              convicted of a felony unless granted permission to do so by the probation
       judicial district of residence within 72 hours of imposition of a             officer. This condition will not apply to intimate family members, unless
       sentence of probation or release from imprisonment, unless                    the court has completed an individualized review and has determined
       otherwise directed by the probation officer;                                  that the restriction is necessary for protection of the community or
 3.    The defendant must report to the probation office as instructed by            rehabilitation;
       the court or probation officer;                                         10.   The defendant must refrain from excessive use of alcohol and must not
 4.    The defendant must not knowingly leave the judicial district                  purchase, possess, use, distribute, or administer any narcotic or other
       without first receiving the permission of the court or probation              controlled substance, or any paraphernalia related to such substances,
       officer;                                                                      except as prescribed by a physician;
 5.    The defendant must answer truthfully the inquiries of the probation     11.   The defendant must notify the probation officer within 72 hours of being
       officer, unless legitimately asserting his or her Fifth Amendment             arrested or questioned by a law enforcement officer;
       right against self-incrimination as to new criminal conduct;            12.   For felony cases, the defendant must not possess a firearm, ammunition,
 6.    The defendant must reside at a location approved by the probation             destructive device, or any other dangerous weapon;
       officer and must notify the probation officer at least 10 days before   13.   The defendant must not act or enter into any agreement with a law
       any anticipated change or within 72 hours of an unanticipated                 enforcement agency to act as an informant or source without the
       change in residence or persons living in defendant’s residence;               permission of the court;
 7.    The defendant must permit the probation officer to contact him or       14.   The defendant must follow the instructions of the probation officer to
       her at any time at home or elsewhere and must permit confiscation             implement the orders of the court, afford adequate deterrence from
       of any contraband prohibited by law or the terms of supervision and           criminal conduct, protect the public from further crimes of the
       observed in plain view by the probation officer;                              defendant; and provide the defendant with needed educational or
 8.    The defendant must work at a lawful occupation unless excused by              vocational training, medical care, or other correctional treatment in the
       the probation officer for schooling, training, or other acceptable            most effective manner.
       reasons and must notify the probation officer at least ten days
       before any change in employment or within 72 hours of an
       unanticipated change;




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             The defendant must also comply with the following special conditions (set forth below).

             STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject
 to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
 or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
 Payments must be delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C.
 § 3563(a)(7).

           Payments will be applied in the following order:

                     1. Special assessments under 18 U.S.C. § 3013;
                     2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                       States is paid):
                               Non-federal victims (individual and corporate),
                               Providers of compensation to non-federal victims,
                               The United States as victim;
                     3. Fine;
                     4. Community restitution, under 18 U.S.C. § 3663(c); and
                     5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

          As directed by the Probation Officer, the defendant must provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply
 for any loan or open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance
 of opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the
 new account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

         The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal



                                                                  CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                      Date



                     U. S. Probation Officer/Designated Witness                     Date




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